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Philadelphia, PA                                     and Kathleen Gray
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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT
                              OF PENNSYLVANIA

JONATHAN JONES,                                      :       CIVIL ACTION
                                                     :
                      Plaintiff,                     :       NO. 14-CV-4689 (RB)
                                                     :
               v.                                    :
                                                     :
AMERIHEALTH CARITAS                                  :
and KATHLEEN GRAY,                                   :
                                                     :
                      Defendants.                    :

              DEFENDANTS’, AMERIHEALTH CARITAS
             AND KATHLEEN GRAY’S, BRIEF IN SUPPORT
             OF THEIR MOTION TO DISMISS PLAINTIFF’S
       AMENDED COMPLAINT PURSUANT TO FED.R.CIV.P. 12(b)(6)
     AND/OR MOTION TO STRIKE PURSUANT TO FED.R.CIV.P. 12(f)(2)

       Defendants, AmeriHealth Caritas and Kathleen Gray, by and through their

counsel, Sand & Saidel, P.C., respectfully submit the within Brief in Support of their

Motion to Dismiss Plaintiff's Amended Complaint Pursuant to Fed.R.Civ.P. 12(b)(6)

and/or Motion to Strike Pursuant to Fed.R.Civ.P. 12(f)(2).

I.     PROCEDURAL HISTORY

       Plaintiff, Jonathan Jones, is an employee of Defendant, AmeriHealth Caritas. On

August 8, 2014, Plaintiff filed the within action against Defendants, AmeriHealth Caritas

and Kathleen Gray. Plaintiff served his Complaint on Defendants by way of United

States first-class mail on September 12, 2014, thereby giving Defendants sixty (60) days
to file a response. On September 16, 2014, counsel for Defendants sent a fully-executed

Waiver of Service of Summons to Plaintiff’s counsel by way of United States first-class

mail agreeing to file a response to Plaintiff’s Complaint by November 12, 2014.

       On November 12, 2014, Defendants filed their Motion to Dismiss Plaintiff’s

Complaint Pursuant to Fed.R.Civ.P. 12(b)(6) (“Rule 12(b)(6)”) and/or Motion to Strike

Pursuant to Fed.R.Civ.P. 12(f)(2) (“Rule 12(f)(2)”). On November 26, 2014, Plaintiff

filed an Amended Complaint in response. On December 2, 2014, this Honorable Court

entered an Order dismissing Defendant’s Motion to Dismiss Plaintiff’s Complaint

Pursuant to Rule 12(b)(6) and/or Motion to Strike Pursuant to Rule 12(f)(2) as moot in

light of Plaintiff’s Amended Complaint. Defendants now bring their Motion to Dismiss

Plaintiff’s Amended Complaint Pursuant to Rule 12(b)(6) and/or Motion to Strike

Pursuant to Rule 12(f)2). .

II.    STATEMENT OF ALLEGED FACTS

       Plaintiff’s Amended Complaint alleges that Plaintiff has been employed by

Defendant, AmeriHealth Caritas, since May 16, 2011. (Complaint, Paragraphs 18, 19).

Plaintiff’s Amended Complaint alleges that he has been denied promotions, disciplined

unfairly, and subjected to unequal pay during his employment. (Complaint, Paragraphs

21, 23, 24, 26, 27, 30, 32, 34, 35, 38). In addition, Plaintiff’s Amended Complaint

alleges that he has complained to Defendants and the Equal Employment Opportunity

Commission (“EEOC”) about alleged harassment, discrimination, retaliation and/or

unequal pay. (Complaint, Paragraphs 25, 29, 39).

       Plaintiff’s Amended Complaint alleges that he has been subjected to harassment,

discrimination and retaliation based on his race, African-American, and his sex, male,




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pursuant to Title VII of the Civil Rights Act of 1964, as amended (“Title VII”), 42 U.S.C.

§2000e, et seq.; and, on all aforementioned bases pursuant to the Pennsylvania Human

Relations Act (“PHRA”), 43 P.S. §951, et seq. (Complaint, Counts I and III). Plaintiff

further alleges harassment, discrimination and retaliation based on his race pursuant to

and the Civil Rights Act of 1866 (“Section 1981”), 42 U.S.C. §1981. (Complaint, Count

II). In addition, Plaintiff alleges discrimination and retaliation based on his pay pursuant

to the Equal Pay Act of 1963 (“EPA”), 29 U.S.C. §204(d), and the Fair Labor Standards

Act of 1938 (“FLSA”), 29 U.S.C. §201, et seq. (Complaint, Counts IV and V).

III.     LEGAL STANDARD

         When presented with a Motion to Dismiss pursuant to Fed.R.Civ.P. 12(b)(6)

(“Rule 12(b)(6)”), the Court must accept as true “all well pled factual allegations of the

non-moving party, and must view all reasonable inferences from those facts in the light

most favorable to the non-moving party.” Bicycle Corp. v. Meridian Bank, C.A. No. 95-

6438, 1995 U.S. Dist. LEXIS 17421, at *5 (E.D. Pa. Nov. 21, 1995) (citations omitted).

A Complaint will not survive a Motion to Dismiss if it does nothing more than set forth

bold conclusions of law that do not have adequate foundations in fact. In re Burlington

Coat Factory Sec. Lit., 114 F.3d 1410, 1429 (3d Cir. 1997). A Complaint must be

dismissed when the facts alleged and the reasonable inferences therefrom are legally

insufficient to support the relief sought. Ignatius Press v. Archdiocese of Philadelphia,

C.A. No. 97-2854, 1998 U.S. Dist. LEXIS 4367, at *2-3 (E.D. Pa. Mar. 31, 1998). A

Complaint must also be dismissed where it appears that the plaintiff cannot prove any

facts to support the relief sought. See Ransom v. Marrazzo, 848 F.2d 398, 401 (3d Cir.

1988).




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       Generally, “to the extent that [a] court considers evidence beyond the complaint

in deciding a 12(b)(6) motion, it is converted to a motion for summary judgment.

Anjelino v. New York Times Co., 200 F.3d 73, 87 (3d Cir. 1999). However, in resolving

a 12(b)(6) motion to dismiss, a court may look beyond the complaint to matters of public

record, including court files and records, and documents referenced in the complaint or

essential to a plaintiff’s claim which are attached to a defendant’s motion. Pension

Benefit Guarantee Corp. v. White Consolidated Industries, 998 F.2d 1192, 1196 (3d Cir.

1993). Under this standard, administrative filings, such as the record of the case before

the EEOC, may be considered by the court without converting the motion to dismiss into

a motion for summary judgment. See Pension Benefit Guarantee Corp., 998 F.2d at

1196-97; Arizmendi v. Lawson, 914 F.Supp. 1157, 1160-61 (E.D.Pa. 1996).

IV.    LEGAL ARGUMENT

       A.      Plaintiff’s Failure to Exhaust His Administrative Remedies With the
               EEOC Bars Him From Alleging Claims of Race and Sex Harassment,
               Discrimination and/or Retaliation Against Defendant Pursuant to
               Title VII.

       In Count I of Plaintiff’s Amended Complaint, he alleges claims of race and sex

harassment, discrimination and/or retaliation against Defendant, AmeriHealth Caritas,

pursuant to Title VII of the Civil Rights Act of 1964, as amended (“Title VII”).

(Amended Complaint, Count I). In Paragraph 6 of his Amended Complaint, Plaintiff

alleges that “[a]ll conditions precedent to the institution of this suit have been fulfilled”

because the Equal Employment Opportunity Commission (“EEOC”) issued a Notice of

Right to Sue to Plaintiff on May 19, 2014. (Amended Complaint, Paragraph 6).

However, in a footnote to that Paragraph, Plaintiff admits that, despite his filing a pro se

EEOC Charge in July of 2013, his counsel subsequently filed a second EEOC Charge on



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November 4, 2013, Charge Number 530-2014-00969, as well as “an Amended Charge of

Discrimination” on November 18, 2013. (Amended Complaint, Paragraph 6, fn 1).

        In his Amended Complaint, Plaintiff concedes that his original EEOC Charge was

assigned a completely different number, Charge Number 530-2013-02810, and alleges a

different date of harm, December 30, 2012, than his second EEOC Charge, Charge

Number 530-2014-00969, which alleges October 21, 2013, as the date of harm.1

Moreover, Plaintiff’s original EEOC Charge alleges race and sex discrimination and/or

retaliation in connection with being denied a promotion, while his second EEOC Charge

alleges retaliation in connection with promotions and wages.2

        In Paragraph 6 of his Amended Complaint, Plaintiff freely admits that the EEOC

has not yet issued a Notice of Right to Sue on his second EEOC Charge, and alleges that

he “will seek leave to amend this Complaint” when he receives a Notice of Right to Sue

on the second EEOC Charge, “which he has requested,” but which he has admittedly not

received. (Amended Complaint, Paragraph 6 fn 1). Significantly, Plaintiff removes his

previous claim from his original Complaint that “he considers the two Charge Numbers

to consist of identical or nearly identical facts.” (Complaint, Paragraph 6, fn 1). Despite

Plaintiff’s tacit admission that his two (2) EEOC Charges contain separate and distinct

allegations, which they do, Plaintiff clearly intends to proceed on the allegations in both

EEOC Charges in his Amended Complaint. However, conspicuously absent from the

Amended Complaint (like the original Complaint) is a copy of the alleged May 19, 2014,

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  Plaintiff’s original EEOC Charge, Charge Number 530-2013-02810, with Notices of Charge of
Discrimination, dated July 12, 2013, and May 6, 2014, respectively, is attached hereto as Exhibit “1.” It
should be noted that Defendants were never served with the perfected albeit unsigned EEOC Charge for
Plaintiff’s first EEOC until it was served by the EEOC on May 6, 2014. Plaintiff’s second EEOC Charge,
Charge Number 530-2014-00969, consisting of a Notice of Charge of Discrimination dated February 5,
2014, is attached hereto as Exhibit “2.”
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  As set forth in Exhibit “2,” no perfected EEOC Charge of discrimination was ever filed regarding
Plaintiff’s second EEOC Charge; rather, only a Notice of Charge of Discrimination was filed.


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Notice of Right to Sue from the EEOC demonstrating that Plaintiff exhausted his

administrative remedies with the EEOC regarding his original EEOC Charge before he

filed the instant lawsuit. Moreover, as set forth above, Plaintiff admits that the EEOC has

not even issued a Notice of Right to Sue on Plaintiff’s second EEOC Charge, which

demonstrates his complete failure to exhaust his administrative remedies with the EEOC

regarding his second EEOC Charge before filing the instant lawsuit.

       Specifically, it is well settled that prior to filing suit in federal court under Title

VII, a plaintiff must exhaust administrative remedies by filing a complaint with the

EEOC. Tlush v. Manufacturers Resource Center, et al., 315 F.Supp.2d 650, 654 (2002);

see 42 U.S.C. §2000e; Churchill v. Star Enterprises, 183 F.3d 184, 190 (3d Cir. 1999). In

order to file a lawsuit, a plaintiff must first seek a right-to-sue letter from the EEOC.

Tlush, 315 F.Supp.2d at 654. In fact, obtaining a right-to-sue letter from the EEOC is a

condition precedent to filing lawsuits under Title VII; Story v. Mechling, 412 F.Supp.2d

509 (W.D. Pa. 2006), quoting, McNasby v. Crown Cork and Seal Co., 888 F.2d 270, 282

(3rd Cir. 1989) (filing a charge and receiving a right to sue letter are prerequisites to an

individual’s bringing suit under Title VII). A plaintiff has ninety (90) days from receipt

of the right-to-sue letter to file a lawsuit in district court. Tlush, 315 F.Supp.2d at 654;

see 42 U.S.C. §§2000e-5(f)(1), 2000e-5(f)(3). Significantly, the Third Circuit has held

that exhaustion of an individual’s administrative remedies must occur “prior to bringing

suit [emphasis supplied].” Freed v. Consolidated Rail Corp., 201 F.2d 188, 191 (3rd Cir.

2000). In fact, in Story, the Court granted summary judgment on plaintiff’s Title VII

claim because he did not receive a right-to-sue letter from the EEOC until over two

months after he filed his lawsuit. Id. at 514.




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       In the case at hand, Plaintiff has again failed to attach a copy of a right-to-sue

letter from the EEOC regarding his original EEOC Charge demonstrating a timely

exhaustion of his administrative remedies prior to filing his lawsuit. As set forth above,

Plaintiff filed his Complaint against Defendant on August 8, 2014, and he filed his

Amended Complaint on November 26, 2014. Although Plaintiff alleges that the EEOC

issued a right-to-sue letter to Plaintiff on May 19, 2014, he failed to attach a copy of that

letter to his Complaint or Amended Complaint to demonstrate that he had, in fact,

exhausted his administrative remedies prior to filing his lawsuit.

       Moreover, Plaintiff freely admits that he failed to obtain a right-to-sue letter from

the EEOC regarding his second EEOC Charge, which has a different Charge Number,

alleges a subsequent date of harm and alleges additional adverse actions. Despite

Plaintiff’s stated intention to file an Amended Complaint, he still has not to date even

received a right-to-sue letter for his second EEOC Charge, therefore failing to

demonstrate a timely exhaustion of his administrative remedies with the EEOC prior to

filing the instant lawsuit. Because any attempt by Plaintiff to join the allegations of his

second EEOC Charge into the instant litigation is premature, any allegations in Plaintiff’s

second EEOC Charge must be precluded from the instant lawsuit. Because Plaintiff has

failed to state a claim under Title VII upon which relief can be granted pursuant to either

of his EEOC Charges, his Title VII claims against Defendant AmeriHealth Caritas in

Count I of his Amended Complaint must be dismissed pursuant to Rule 12(b)(6).

       B.      Plaintiff’s Failure to Exhaust His Administrative Remedies With the
               PHRC Bars Him From Alleging Claims of Race and Sex Harassment,
               Discrimination and Retaliation Against Defendants Pursuant to the
               PHRA.




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       In Count III of Plaintiff’s Amended Complaint, he alleges claims of race and sex

harassment, discrimination and/or retaliation against Defendants, AmeriHealth Caritas

and Kathleen Gray, pursuant to the Pennsylvania Human Relations Act (“PHRA”).

(Amended Complaint, Count III). As set forth above, in Paragraph 6 of his Amended

Complaint, Plaintiff alleges that he has complied with all administrative prerequisites

prior to filing his Amended Complaint. (Amended Complaint, Paragraph 6). Regarding

his claims under the Pennsylvania Human Relations Act (“PHRA”), Plaintiff alleges that,

“upon information and belief, a Complaint was dual-filed with the Pennsylvania Human

Relations Commission (“PHRC”) more than one year ago” in connection with his first

EEOC Charge. Plaintiff further alleges that his PHRA claims in connection with his

second EEOC Charge “were both dual-filed with the PHRC more than one year ago.”

(Amended Complaint, Paragraph 6). Notably missing is any specific averment that

Plaintiff exhausted his administrative remedies with the Pennsylvania Human Relations

Commission (“PHRC”), the administrative agency that enforces the PHRA, in connection

with either one of his EEOC Charges.

       Like Title VII, The PHRA is clear in requiring the exhaustion of administrative

remedies prior to instituting a lawsuit. See 43 P.S. §962. The Pennsylvania courts have

long recognized that the PHRA requires an exhaustion of administrative remedies.

Marcial v. Rawl, et al., 1995 WL 31614 (E.D.Pa. 1995). Pursuant to the PHRA, a person

must file a complaint (or charge) of discrimination within 180 days after the alleged act

of discrimination. Id.; Parsons v. Philadelphia Office of Drug & Alcohol Abuse, 833

F.Supp. 1108, 1112. (E.D.Pa. 1993); 43 P.S. §959(a), (h). 43 P.S. §962(c)(1) governs the

procedural requirements for bringing PHRA claims, and grants the PHRC exclusive




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jurisdiction over claims for a period of one year, in order to investigate and, if possible,

conciliate the claims. Tlush, 315 F.Supp.2d at 656; see Burgh v. Borough Council of the

Borough of Montrose, 251 F.3d 465, 471 (3d Cir. 2001); Clay v. Advanced Computer

Applications, Inc., 522 Pa. 86, 559 A.2d 917, 920 (1989) (“[t]he legislative history of

section 962(c) shows that the Legislature intended that the PHRC should have exclusive

jurisdiction of a complaint alleging violations under the PHRA for a period of one year”).

After the expiration of the one-year period, a complainant may file a lawsuit regardless of

whether he has received a “one-year” letter from the PHRC. Tlush, 315 F.Supp.2d at

656; see Burgh, 251 F.3d at 471.

       Applying this binding interpretation of Pennsylvania state law, courts in this

district have consistently dismissed PHRA claims filed prior to the expiration of the

PHRC’s one-year exclusive jurisdiction period. See Lyons v. Springhouse Corp., 1993

WL 69515 at *3 (E.D. Pa. March 10, 1993) (dismissing plaintiff’s PHRA claim due to his

filing a civil action only six (6) months after filing his charge with the PHRC, thereby

failing to exhaust his administrative remedies); see also Nicholls v. Wildon Industries,

Inc. 1999 WL 1211656 (E.D. Pa. Dec. 10, 1999) (dismissing plaintiff’s PHRA claim for

failing to wait a full year prior to filing a writ of summons in Common Pleas Court).

Failure to exhaust one’s remedies under the PHRA precludes a court from exercising

jurisdiction over the party’s claim under the PHRA in subsequent litigation. Parsons, 833

F.Supp. at 1112; Clay, 559 A.2d at 920; Schweitzer v. Rockwell Int’l, 402 Pa.Super. 34,

586 A.2d 383 (1990), allocatur denied, 529 Pa. 635, 600 A.2d 954 (1991).

       As set forth above, Plaintiff’s Complaint lacks any specific averment that Plaintiff

exhausted his administrative remedies with the PHRC in connection with either one of




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his EEOC Charges as required by the PHRA. Significantly, Plaintiff has failed to attach

any documentation from the PHRC demonstrating a timely exhaustion of his

administrative remedies prior to filing his Amended Complaint. Moreover, Plaintiff’s

counsel admits that Plaintiff’s second EEOC Charge was filed in November of 2013, less

than one year before he filed his original Complaint on August 8, 2014, thereby failing to

demonstrate a timely exhaustion of his administrative remedies with the PHRC prior to

filing the instant lawsuit. Therefore, any allegations in Plaintiff’s second EEOC Charge

must be precluded from the instant lawsuit. Because Plaintiff has failed to state a claim

under the PHRA upon which relief can be granted, his PHRA claims against Defendants

in Count III of his Amended Complaint must be dismissed pursuant to Rule 12(b)(6).

       C.      Plaintiff’s Failure to Exhaust His Administrative Remedies With the
               EEOC and PHRC in Connection with His Claims of Race and Sex
               Harassment Bars Him From Alleging Those Claims Against
               Defendants Pursuant to Title VII and the PHRA.

       As set forth above, Counts I and III of Plaintiff’s Amended Complaint allege

claims of race and sex harassment against Defendants pursuant to Title VII and the

PHRA. (Amended Complaint, Counts I and III). As also set forth above, Plaintiff’s

original EEOC Charge alleges race and sex discrimination and/or retaliation in

connection with being denied a promotion, while his second EEOC Charge, a Notice of

Charge of Discrimination, alleges retaliation in connection with promotions and wages.

Completely absent from either EEOC Charge is any statement, reference or allegation

claiming harassment based on either race or sex. Because Plaintiff’s claims of race and

sex harassment fall outside the scope of his EEOC Charges, he has failed to exhaust his




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administrative remedies in connection with any race or sex harassment claims under Title

VII and the PHRA.3

         The test in the Third Circuit for exhaustion of administrative remedies is “whether

the acts alleged in the subsequent Title VII suit are fairly within the scope of the prior

EEOC complaint, or the investigation arising therefrom.” Weems v. Kehe Food

Distributors, Inc, d/b/a Kehe Distributors, LLC, 804 F.Supp.2d 339, 342 (E.D. Pa. 2011),

quoting Antol v. Perry, 82 F.3d 1291, 1295-96 (3rd Cir. 1996). As noted by the Eastern

District in Weems, numerous courts have dismissed claims that were not within the

reasonable scope of the EEOC Charge. Ocasio v. City of Bethleham, No. 08-3737, 2009

WL 37518, at *3 (E.D. Pa. Jan. 7, 2009) (dismissing harassment, hostile work

environment and retaliation claims where the EEOC Charge focused on failure to

promote); Nerosa v. Storecast Merchandising Corp., No. 02-440, 2002 WL 1998181, at

*3 (E.D. Pa. Aug. 28, 2002) (dismissing hostile work environment claim where the

EEOC Charge alleged discrimination); Wright v. Phila. Gas Works, No. 01-2655, 2001

WL 1169108, at *3 (E.D. Pa. Oct. 2, 2001) (dismissing hostile work environment and

retaliation claims where EEOC Charge only alleged racially motivated discharge).

         In the instant case, Plaintiff’s original EEOC Charge, albeit unsigned by Plaintiff,

which is the only EEOC Charge for which Plaintiff has obtained a right-to-sue letter,

alleges solely race and sex discrimination and retaliation in connection with an alleged

failure to promote and internal complaints. His second EEOC Charge, a Notice of

Charge of Discrimination, alleges retaliation in connection with promotions and wages.


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  Moreover, as set forth above, Plaintiff’s attempt to join his second EEOC Charge into the instant litigation
is premature is he admittedly has not received a right to sue letter yet. Moreover, as also set forth above,
his original Complaint was filed in August of 2014, less than one year after he filed his second EEOC
Charge, thereby failing to fulfill the procedural requirements under the PHRA.


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There is nothing in either EEOC Charge that would support a claim of race or sex

harassment against either Defendant or that would lead to an investigation of harassment

claims.4 Because Plaintiff’s claims of race and sex harassment in his Amended

Complaint clearly fall outside the scope of his EEOC Charges, he has failed to exhaust

his administrative remedies in connection with any race or harassment claims against

Defendants under Title VII or the PHRA. Therefore, Plaintiff’s race and sex harassment

claims against Defendants in Count I and II of his Amended Complaint must be

dismissed pursuant to Rule 12(b)(6).

         D. Plaintiff Has Failed to State a Claim of Race Harassment, Discrimination
            and/or Retaliation Against Defendant Pursuant to Section 1981.

         Count II of Plaintiff’s Amended Complaint purports to allege claims of race

harassment, discrimination and/or retaliation against Defendant, AmeriHealth Caritas,

pursuant to 42 U.S. C. §1981. (Amended Complaint, Count II). To state a claim under

Section 1981, a plaintiff must allege that (1) he is a member of a racial minority; (2) the

defendant intended to discriminate on the basis of race; and, (3) the discrimination

concerned the making and enforcing of a contract. Coles v. Ritz Carlton Residence, et

al., 2013 WL 5842958 (E.D. Pa. Oct. 30, 2013), at *1; Pryor v. Nat’l Collegiate Athletic

Ass’n, 288 F.3d 548, 569 (3rd Cir. 2002). “[A] plaintiff cannot state a claim under

Section 1981 unless he has (or would have) rights under the existing (or proposed)

contract that he wishes to ‘make and enforce.’” Domino’s Pizza, Inc. v. McDonald, 546

U.S. 470, 479, 126 S.Ct. 1246, 163 L.Ed.2d 1069 (2006).



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  As noted above, Plaintiff’s attempt to join his second EEOC Charge into the instant litigation is premature
is he admittedly has not received a right to sue letter yet. In addition, since his original Complaint was filed
in August of 2014, less than one year after he filed his second EEOC Charge, thereby failing to fulfill the
procedural requirements under the PHRA.


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        Plaintiff’s Amended Complaint makes general allegations of harassment,

discrimination and retaliation based on his race and sex during his employment with

Defendant, AmeriHealth Caritas. Plaintiff alleges that he was denied promotions,

disciplined unfairly, subjected to unequal pay and retaliated against for making

complaints to Defendant about these matters. (Amended Complaint, Paragraphs 22 to

36). In Paragraph 39 of his Amended Complaint, Plaintiff alleges that he was

discriminated against and harassed in violation of, inter alia, Section 1981. (Amended

Complaint, Paragraph 39).

        In Count II of his Amended Complaint, Plaintiff alleges harassment,

discrimination and retaliation based on his race and sex. (Amended Complaint, Count II,

Paragraph 57). It goes without saying that Plaintiff’s allegations of sex discrimination are

not covered by Section 1981, which pertains only to discrimination based on race. Coles,

supra, at *1. However, Plaintiff fails to make out a case of race discrimination under

Section 1981 because he has failed to identify an existing contract under which he has

rights that he wishes to enforce. Plaintiff further fails to allege that the alleged

discrimination to which he was subjected concerned the enforcement of an existing

contract. Coles, supra, at *1. Without more, Plaintiff cannot assert a cause of action for

race discrimination under Section 1981.

        As set forth above, Plaintiff has failed to satisfy his burden of proving a prima

facie case of race harassment, discrimination and/or retaliation under Section 1981.

Therefore, his claims of race discrimination in Count II of his Amended Complaint must

be dismissed pursuant to Rule 12(b)(6).

        E.      Plaintiff Has Failed to State a Claim of Wage Discrimination Against
                Defendant Pursuant to the EPA.



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       Count IV of Plaintiff’s Amended Complaint purports to allege a claim of wage

discrimination against Defendant AmeriHealth Caritas pursuant to the EPA. (Amended

Complaint, Count IV). In order to establish a prima facie case under the EPA, a plaintiff

must show that (1) the employer pays different wages to employees of the opposite sex;

(2) the employees perform equal work on jobs requiring equal skill, effort and

responsibility; and, (3) the job are performed under similar working conditions. Lavin-

McEleney v. Marist College, 239 F.3d 476, 480 (2nd Cir. 2001), 20 U.S.C. §206(d)(1).

Warren v. Solo Cup Company, 516 F.3d 627, 629 (7th Cir. 2008).

       The comparison must be made “factor by factor” with the comparator of the

opposite sex.” Strag v. Board of Trustees, Craven Community College, 55 F.3d 943, 948

(4th Cir. 1995). In addition, the plaintiff must identify a particular comparator of the

opposite sex for purposes of the inquiry and may not compare himself to a hypothetical

or “composite” comparator of the opposite sex. Id.

       In Plaintiff’s Amended Complaint, he alleges that, “upon information and belief,”

he was being paid at rates less than the rates it pays female…employees…” (Amended

Complaint, Paragraph 22). In Paragraphs 35 and 40 of his Amended Complaint, Plaintiff

makes vague allegations of being paid at a lower pay rate than female employees, naming

three (3) alleged coworkers without identifying their job titles or rate of pay. (Amended

Complaint, Paragraphs 35, 40). These vague allegations are clearly insufficient to

establish a cause of action under the EPA as they fail to set forth a specific factor by

factor comparison with a female comparator in the same position as him with similar

education and experience. Moreover, as set forth above, Plaintiff’s first EEOC Charge,

the only EEOC Charge for which he has obtained a right-to-sue letter, alleges solely race



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and sex discrimination and retaliation in connection with an alleged failure to promote

and internal complaints. There is nothing in that EEOC Charge that would support a

claim of wage discrimination against Defendant AmeriHealth Caritas that would lead to

an investigation of such claims.

       Plaintiff has failed to adduce sufficient evidence to establish a cause of action of

wage discrimination under the EPA because he has failed to perform a specific factor by

factor comparison with a female comparator in the same position as him with similar

education and experience. Because Plaintiff has failed to make out a prima facie case of

wage discrimination under the EPA, his EPA claim against Defendant in Count IV of his

Amended Complaint must be dismissed pursuant to Rule 12(b)(6).

       F.      Plaintiff Has Failed to State a Claim of Retaliation Against Defendant
               Pursuant to the FLSA.

       Count V of Plaintiff’s Amended Complaint purports to allege a claim of

retaliation against Defendant AmeriHealth Caritas pursuant to the FLSA. (Amended

Complaint, Count V). In order to establish a prima facie case under the FLSA, a plaintiff

must show that (1) he is an employee of the Defendant; (2) his work involves some kind

of interstate activity; and, (3) the approximate number of hours worked for which

Plaintiff did not receive alleged wages. Scott v. Bimbo Bakeries, USA, Inc., et al., (2012

WL 645905 (E.D. Pa.)), citing Zhong v. August August Corp., 498 F.Supp.2d 625, 628

(S.D.N.Y. 2007). Section 215(a)(3) of the FLSA prohibits retaliation when an employee

“has filed any complaint or instituted or caused to be instituted any proceeding under or

related to this chapter, or has testified or is about to testify in any such proceeding, or has

served or is about to serve on an industry committee.” 29 U.S.C. 215(a)(3).




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       Plaintiff’s Amended Complaint does not contain sufficient facts to state a

cognizable claim of retaliation against Defendant under the FLSA. In Paragraphs 22, 36

and 38 of his Amended Complaint, Plaintiff alleges that he has been subject to retaliation

for his complaints about unequal pay. (Amended Complaint, Paragraphs 22, 36, 38).

However, Plaintiff does not provide any specifics about his alleged complaints about

unequal pay, with the exception of one alleged “Human Resources employee,” such as

the dates of his complaints, to whom the complaints were made or the specifics of his

complaints.

       In Paragraph 41 of his Amended Complaint, Plaintiff accuses AmeriHealth

Caritas of continuing to retaliate against him because of his “complaints” in violation of

the FLSA. (Amended Complaint, Paragraph 41). Plaintiff fails to provide any specifics

about the alleged retaliation and again fails to provide any information about his alleged

complaints, when they were made and to whom they were made. Although Plaintiff

alleges that he complained to the EEOC, his first EEOC Charge, which is the only EEOC

Charge for which he has obtained a right-to-sue letter, alleges solely race and

discrimination and retaliation in connection with an alleged failure to promote in July of

2012 and internal complaints about being chastised by a coworker and, as such, would

not put AmeriHealth Caritas on notice that he complained about alleged violations of the

FLSA. It should be further noted that Plaintiff’s first EEOC Charge was not served on

Defendants until May 6, 2014, three (3) months before he filed his original Complaint,

and because it did not contain any allegations of FLSA violations would not have put

Defendant on notice of any alleged FLSA violations.




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       Moreover, with the exception of his alleged complaint to a “Human Resources

employee,” Plaintiff fails to identify whether his complaints were informal complaints to

Defendant or formal complaints to an outside agency or tribunal. Indeed, the only

outside agency that Plaintiff alleges he complained to was the EEOC, which does not

have jurisdiction over the FLSA. The Third Circuit has not ruled directly on whether an

informal complaint to an employer is actively protected by the FLSA. Scholly v. JMK

Plastering, Inc., 2008 WL 2579729 (E.D. Pa. 2008). Therefore, notwithstanding the

vagueness of Plaintiff’s allegations, assuming that his complaints were informal, they do

not fall under the definition of activity protected by the FLSA. Because Plaintiff has

failed to make out a prima facie case of retaliation under the FLSA, his FLSA claim

against Defendant in Count V of his Amended Complaint must be dismissed pursuant to

Rule 12(b)(6).

       G.        Plaintiff’s Request for a Jury Trial for His PHRA Claims Must be
                 Stricken From the Amended Complaint.

       Plaintiff’s Amended Complaint demands a jury trial, presumably all Counts.

However, it is well settled that the PHRA does not provide for jury trials. 43 P.S. Section

§962(c)(3); see Wertz v. Chapman Township, 559 Pa. 630, 741 A.2d 1272 (1999).

Specifically, the PHRA provides in relevant part that:

                 If the court finds the respondent has engaged in such discriminatory
                 practices charged in the complaint, the court shall enjoin the respondent
                 from engaging in such unlawful discriminatory practice and order
                 affirmative action which may include, but is not limited to, reinstatement
                 or hiring of employees, granting of back pay, or any other legal or
                 equitable relief as the court deems appropriate.

43 P.S. Section §962(c)(3).




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       In Wertz, the Pennsylvania Supreme Court performed a thorough analysis of the

PHRA and its legislative history and found that neither provided any indication that the

General Assembly intended for a plaintiff to have a right to a trial by jury. Id. The Court

also rejected the plaintiff’s assertion that the provision for “legal” relief in the PHRA

necessarily means that the General Assembly intended that a plaintiff be entitled to a jury

trial under the PHRA. Id. Accordingly, the Court concluded that the General Assembly

did not intend for a plaintiff to have a right to a jury trial for claims under the PHRA. Id.

       Because Plaintiff is not entitled to a jury trial on her PHRA claims, any request

for a jury trial on those claims must be stricken from his Amended Complaint.

Therefore, Defendant respectfully requests that Plaintiff’s demand for a jury trial on his

PHRA claims be stricken from his Amended Complaint pursuant to Rule 12(f)(2).

       H.      Plaintiff’s Request for Compensatory Damages for Pain and Suffering
               and Punitive Damages Pursuant to His EPA and FLSA Claims Must
               be Stricken From the Amended Complaint.

       As set forth above, the “Relief” Section of Plaintiff’s Amended Complaint

generally requests relief in the form of, inter alia, compensatory damages in the nature of

“past and future emotional upset, mental anguish, loss of reputation, humiliation, loss of

life’s pleasures and pain and suffering”; and, punitive damages for Defendant

AmeriHealth Caritas’ alleged “retaliation against Plaintiff for his EPA complaints in

violation of the FLSA.” (Amended Complaint, Relief Section, Paragraphs (i), (k)).

Plaintiff also seeks compensatory damages for pain and suffering pursuant to his Title

VII, PHRA and Section 1981 claims and punitive damages pursuant to his Title VII and

Section VII claims. (Id.).




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       Plaintiff fails to recognize in his Relief Section that compensatory damages for

pain and suffering and punitive damages are not available under the EPA and the FLSA.

Plaintiffs suing under the EPA may receive back pay and an additional equal amount as

liquidated damages. Neibauer v. Philadelphia College of Pharmacy and Science, 1992

WL 151321, at *7 (E.D.Pa. 1992); 29 U.S.C. §216(b). However, the EPA does not allow

for the award of additional damages beyond its statutory provisions; rather, it limits the

availability of damages to those specifically provided by Congress. Neibauer at *7

(plaintiff’s request for damages was limited to those allowable under the EPA). Because

it may be inferred that compensatory damages for pain and suffering and punitive

damages are not available under the EPA, and any claim for such relief by Plaintiff in his

Amended Complaint must be stricken from his Amended Complaint pursuant to Rule

12(f)(2).

       The FLSA provides that an employer that violates the provisions of Sections 206

or 207 of the FLSA is liable to their employees “in the amount of their unpaid minimum

wages, or unpaid overtime compensation…and in an additional amount as liquidated

damages.” Martin v. Selker Brothers, Inc., 949 F2d 1286, 1299 (3rd Cir. 1991); 29 U.S.C.

§216(b). Liquidated damages are compensatory rather than punitive in nature and

compensate employees for the losses they may have suffered by the delay in their not

receiving their proper wages at the time they were due. Martin, 949 F.2d at 1299. As

with the EPA, compensation damages for pain and suffering and punitive damages are

not available under the FLSA. Therefore, any claim for such relief by Plaintiff in his

Amended Complaint under the EPA and the FLSA must be stricken from his Amended

Complaint pursuant to Rule 12(f)(2).




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       Pursuant to the clear language of the EPA and FLSA as well as the controlling

case law, compensatory damages for pain and suffering and punitive damages are not

available remedies under the EPA and the FLSA. Therefore, Defendant respectfully

requests that Plaintiff’s request for any or all of these damages pursuant to his EPA and

FLSA claims be stricken from his Amended Complaint pursuant to Rule 12(f)(2).

V.     CONCLUSION

       For all of the foregoing reasons, Defendants, AmeriHealth Caritas and Kathleen

Gray, respectfully request that this Honorable Court dismiss Plaintiff’s Amended

Complaint for failure to state a claim pursuant to Fed.R.Civ.P. 12(b)(6). In the

alternative, Defendants respectfully request that this Honorable Court strike from

Plaintiff’s Amended Complaint: Plaintiff’s demand for a jury trial under the PHRC; and,

Plaintiff’s request for compensatory damages for pain and suffering and punitive

damages under the EPA and FLSA pursuant to Fed.R.Civ.P. 12(f)(2).

                                                     Respectfully submitted,

                                                     SAND & SAIDEL, P.C.

                                                     /DLN6576
                                             BY:     ______________________________
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                                                     AmeriHealth Caritas
                                                     and Kathleen Gray




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